              IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                       ASHEVILLE DIVISION
            CRIMINAL CASE NO. 1:21-cr-00096-MR-WCM


UNITED STATES OF AMERICA,          )
                                   )
                   Plaintiff,      )
                                   )
              vs.                  )                        ORDER
                                   )
MATTHEW SIDNEY GEOUGE,             )
                                   )
                  Defendants.      )
__________________________________ )

      THIS MATTER is before the Court on the Government’s Motion to Seal

[Doc. 22].

      The Government moves the Court for leave to file a “sentencing

motion” under seal in this case. [Doc. 22]. For grounds, counsel states that

the “sentencing motion” contains sensitive information about cooperating

defendants in this case and that disclosure of such information could

potentially put those individuals at risk of harm. [Id.].

      Before sealing a court document, the Court must “(1) provide public

notice of the request to seal and allow interested parties a reasonable

opportunity to object, (2) consider less drastic alternatives to sealing the

documents, and (3) provide specific reasons and factual findings supporting

its decision to seal the documents and for rejecting the alternatives.”


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Ashcraft v. Conoco, Inc., 218 F.3d 288, 302 (4th Cir. 2000). Where sealing is

allowed, a party is still required to file in the public record a redacted

memorandum with only those portions that are allowed to be sealed having

been redacted. United States v. Harris, 890 F.3d 480, 491-92 (4th Cir. 2018).

     Here, the Government has failed to file an unredacted version of the

“sentencing motion” provisionally under seal for the Court to review. See

LCvR 6.1(d). Without such, the Court is unable to determine if the purported

grounds for sealing the document provide a sufficient basis for wholesale

sealing of the document or if less drastic alternatives to wholesale sealing

would be effective. See Harris, 890 F.3d 480, 491-92 (4th Cir. 2018).

     As such, the Government’s Motion fails to provide a sufficient basis to

support a decision to seal the “sentencing motion” and for rejecting the

alternatives to sealing. For these reasons, the Court will deny the

Government’s Motion without prejudice. The Court, however, will allow the

Government to file a renewed Motion to Seal that identifies with specificity

the portions of the “sentencing motion” to be sealed and provides sufficient

basis for the sealing thereof. Further, the Government shall file the

unredacted “sentencing motion” provisionally under seal and, to the extent

the Government’s basis for sealing the “sentencing motion” pertains to only




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certain portions therein, the Government shall file a redacted version of the

“sentencing motion” redacting only those portions sought to be sealed.

      IT IS, THEREFORE, ORDERED that the Government’s Motion to Seal

[Doc. 22] is DENIED WITHOUT PREJUDICE. The Government shall file a

Motion to Seal on the public docket that identifies with specificity the portions

of the “sentencing motion” to be sealed and provides sufficient basis for the

sealing thereof forthwith. Further, the Government shall file the unredacted

“sentencing motion” provisionally under seal and, if appropriate, a redacted

version of the “sentencing motion” on the public docket.

      IT IS SO ORDERED.           Signed: June 17, 2022




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